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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JAMES MADISON PROJECT, et al.,       )
                                     )
 Plaintiffs,                         )
                                     )
v.                                   )
                                     )                       Case No. 17-597-APM
UNITED STATES DEPARTMENT OF JUSTICE, )
                                     )
 Defendant.                          )
                                     )

                          DEFENDANT’S RESPONSE TO ORDER

       By Minute Order dated February 2, 2018, the Court instructed that by February 14, 2018,

“Defendant shall notify the court whether the release of the ‘Nunes Memo’ referenced in

Plaintiffs’ Notice of Supplemental Information affects Defendant’s blanket Glomar response to

Plaintiffs’ FOIA request,” and further that “[i]f Defendant maintains that the Nunes Memo’s

release does not in any way change the agency’s Glomar response, it shall set forth its

justification for that position.” Defendant hereby submits its response.

   (1) On February 2, 2018, Congress released the document that Plaintiffs attached to their

        Notice of Supplemental Authority and which the Court refers to as the “Nunes Memo.”

   (2) The President declassified the memorandum, which included references to the existence

        of FISA material related to Carter Page. Although Carter Page separated from the

        Trump campaign before the initial FISA order was obtained, the FISA applications are

        potentially responsive to the request for applications regarding “people associated with

        President Trump.” Accordingly, Defendant withdraws the Glomar response as to the

        existence of the Page FISA applications and orders identified in the Nunes Memo.




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   (3) Declassification by the President of the existence of the Page FISA applications and

       orders identified in the Nunes Memo requires the government to carefully review those

       materials to determine what information contained in them has been declassified and if

       they are responsive to Plaintiff’s request.

   (4) Given recent events, and the possibility of additional declassifications by the President,

       the government is unable at this time to propose a timetable to conduct this review.

   (5) The government requests that current motions be terminated as moot and requests 30

       days to confer with Plaintiffs’ counsel and propose a reasonable schedule for the

       government to make additional disclosures of records, if any, and to re-brief summary

       judgment, including asserting any remaining partial Glomar response.




Dated: February 14, 2018                             Respectfully Submitted,

                                                     CHAD READLER
                                                     Acting Assistant Attorney General

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                                                     Assistant Director, Federal Programs Branch

                                                     /s/Amy E. Powell
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